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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                              CASE NO. 3:02CR5LAC

RAPHAEL D. NICKERSON

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on March 5, 2008
Motion/Pleadings: MOTION FOR REDUCTION OF SENTENCE PURSUANT TO TITLE 18
U.S.C. SECTION 3582(c)(2)
Filed by DEFENDANT PRO SE              on 3/3/08   Doc.# 191

RESPONSES:
BY GOVERNMENT                                  on 3/7/08             Doc.# 193
                                               on                    Doc.#
        Stipulated             Joint Pldg.
        Unopposed              Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon   consideration      of   the   foregoing,       it   is   ORDERED     this   11 th   day   of
April, 2008, that:
(a) The relief requested is DENIED.
(b) At sentencing, the defendant was held accountable for 4.8 kilograms of
cocaine base which resulted in a base offense level of 38. Pursuant to Amendment
706 to the Sentencing Guidelines, the Drug Quantity Table at §2D1.1 assigns a
base offense level of 38 for 4.5 kilograms or more of cocaine base. Since the
defendant’s base offense level is unchanged, he is ineligible for a reduction in
his sentence of imprisonment pursuant to Amendment 706.



                                                             s /L.A. Collier
Entered On Docket:                    By:                    LACEY A. COLLIER
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP       Senior United States District Judge
Copies sent to:




                               Document No.
